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                                       No. 24-3340, 34-3177
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                         IN THE UNITED STATES COURT OF APPEALS
                                 FOR THE NINTH CIRCUIT


                                  MAKUEEYAPEE D. WHITFORD

                                                    Plaintiff-Appellant,

                                                   v.

                                       JIM SALMONSEN, et al.,

                                                    Defendant-Appellee.

                           On Appeal from the United States District Court
                                    for the District of Montana
                                  Cause No. 22-70-H-BMM-JTJ
                                         Hon. Brian Morris


                        SUPPLEMENTAL EXCERPTS OF RECORD INDEX


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          09/22/23       Doc. 56-7    Defendants’ Statement of Undisputed             1   1-SER-2
                                      Facts Exhibit D (Plaintiff’s
                                      Disciplinary File.)

                                                 VOLUME 2

          09/22/23       Doc. 56-7    Defendants’ Statement of Undisputed             2   2-SER-302
                                      Facts Exhibit D (Plaintiff’s
                                      Disciplinary File cont.)
